Case 4:22-cr-40086-KES    Document 45    Filed 09/11/23   Page 1 of 3 PageID #: 99




                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           4:22-CR-40086-KES

                   Plaintiff,

                                            REPORT AND RECOMMENDATION
      vs.

JOSE URIBE,

                   Defendant.



      This matter came before the court for a change of plea hearing on

Monday, September 11, 2023. The defendant, Jose Uribe, appeared in person

and by his counsel, the Assistant Federal Public Defender. The United States

appeared by its Assistant United States Attorney.

      The defendant consented in open court to the change of plea before a

United States Magistrate Judge. The defendant also waived his right to insist

that the government proceed by indictment and consented to prosecution by

information. This court finds that the defendant’s consents and waivers were

both voluntary and upon the advice of counsel. The government also

consented to the plea hearing before a magistrate judge. Further, the parties

waived their right to object to the report and recommendation.

      Defendant has reached a plea agreement wherein he intends to plead

guilty to the amended superseding information which charges him with
Case 4:22-cr-40086-KES   Document 45    Filed 09/11/23   Page 2 of 3 PageID #: 100




conspiracy to commit carjacking in violation of 18 U.S.C. §§ 371 and 2119; and

with use and brandishing of a firearm during the commission of a crime of

violence in violation of 18 U.S.C. § 924(c). At the hearing, the defendant was

advised of the nature of the charges to which the defendant would plead guilty

and the maximum penalties applicable.

      Defendant was advised that conspiracy to commit carjacking carried a

maximum penalty of up to 5 years in prison, a $250,000 fine or both, a period

of supervised release of 3 years, and 2 years if supervised release was revoked.

      Defendant was advised the crime of use or brandishing a firearm during

the commission of a crime of violence entails a mandatory minimum term of

incarceration of 7 years which must be served consecutive to any term of

imprisonment imposed on the conspiracy to commit carjacking charge, a

$250,000 fine; or both; 5 years supervised release; an additional 3 years

imprisonment if supervised release is revoked; and a $100 special assessment.

      Upon questioning the defendant personally in open court, it is the finding

of the court that the defendant is fully competent and capable of entering an

informed plea, that the defendant is aware of the nature of the charges and the

consequences of the plea, and that his plea of guilty to the amended

superseding information is a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the




                                       2
Case 4:22-cr-40086-KES   Document 45    Filed 09/11/23   Page 3 of 3 PageID #: 101




offense. It is my report and recommendation that the defendant’s plea of guilty

be accepted and that he be adjudged guilty of that offense.

      DATED this 11th day of September, 2023.

                                     BY THE COURT:



                                     VERONICA L. DUFFY
                                     United States Magistrate Judge




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